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                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 316

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
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                      [Image: Coat of Arms of the Federal Security Service]




                                     Federal Security Service

                                     of the Russian Federation


                                        Certificate of Merit


                                           is awarded to

                                   Aleksandr Viktorovich Ionov


                      For rendering assistance to the Federal Security Service



  Director of the FSB of Russia

  Army General                                       [Signature] A. Bortnikov
                                                     [FSB Stamp]

  February 27, 2017
